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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

___________________________________
                                   )
UNITED STATES OF AMERICA,          )
                                   )
               Plaintiff,          )
                                   )
          v.                       ) Case No. 13-cr-305-33 (EGS)
                                   )
ANNA JAIME,                        )
                                   )
                                   )
               Defendant.          )
___________________________________)


                           MEMORANDUM OPINION

       On June 1, 2016, the Court sentenced Anna Jaime to one year

of special probation pursuant to the Federal First Offender Act

(“FFOA”), 18 U.S.C. § 3607(a). At that time, the Court indicated

that in view of the limited caselaw involving FFOA, it would

likely issue a written opinion supporting the sentence.

Accordingly, this Memorandum Opinion accompanies the Court’s

June 1, 2016 oral sentence.

  I.     BACKGROUND

         A. Ms. Jaime’s Involvement in the Narcotics and Money
            Laundering Conspiracy

       On May 29, 2015, Ms. Jaime pled guilty to a One-Count

Superseding Information charging her with Conspiracy to Possess

Heroin, a misdemeanor offense, in violation of 21 U.S.C. § 844
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and 21 U.S.C. § 846. 1 The government’s proffer of evidence

accompanying the plea agreement states that a bank account

belonging to Ms. Jaime was used to launder funds for co-

defendants Juan Floyd and Armando Gamez in furtherance of a

narcotics and money laundering conspiracy. See Proffer of

Evidence, ECF No. 714 at 2. Specifically, co-defendant Juan

Floyd would deposit illegal narcotics proceeds into Ms. Jaime’s

account from bank branches in the Washington, D.C. metropolitan

area. Id. at 3. Ms. Jaime would then withdraw the funds in cash

from her local branch in Texas and deliver the cash to an

unindicted co-conspirator. 2 Id. According to the government,

between April and June 2013, Ms. Jaime laundered approximately

$44,000.00 of illegal narcotics proceeds through multiple

transactions. Id. at 2.

       B. Ms. Jaime’s Sentencing Hearings

     At the initial sentencing hearing on September 15, 2015,

counsel for Ms. Jaime orally moved for disposition pursuant to

18 U.S.C. § 3607(a), which provides that under certain

circumstances, a defendant may be sentenced to serve a term of

probation up to one year without a judgment of conviction being


1 Ms. Jaime pled guilty before Magistrate Judge Alan Kay, and the
Court accepted the guilty plea on September 10, 2015. See
September 10, 2015 Minute Order.
2 At the June 1, 2016 sentencing hearing, the government stated

that the unindicted co-conspirator was Ms. Jaime’s husband.
Rough Hr’g Tr. (“Hr’g Tr.”) 18:17-18., June 1, 2016.
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entered. See Minute Entry of Sept. 22, 2015. The government

opposed the oral motion. Because counsel raised the possibility

of disposition pursuant to this provision for the first time at

that hearing, the Court directed the parties to brief the issue

and continued the sentencing hearing to a later date. See Minute

Order of Sept. 15, 2015. The Court also invited the Federal

Public Defender for the District of Columbia to participate as

amicus curiae. See Minute Order of Sept. 22, 2015. Upon review

of the submissions of the parties and amicus curiae, and after

considering the arguments at the June 1, 2016 hearing, the Court

sentenced Ms. Jaime to one year of special probation pursuant to

18 U.S.C. § 3607(a).

  II.     ANALYSIS

             A. Statutory Framework

     18 U.S.C. § 3553(a) requires sentencing courts to consider

numerous factors when sentencing a defendant. Courts must

consider “the nature and circumstances of the offense and the

history and characteristics of the defendant” as well as:

             the need for the sentence imposed—

     (A)     to reflect the seriousness of the offense, to
             promote respect for the law, and to provide
             just punishment for the offense;

     (B)     to afford    adequate    deterrence    to   criminal
             conduct;

     (C)     to protect the public from further crimes of
             the defendant; and

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     (D)   to   provide   the  defendant   with   needed
           educational or vocational training, medical
           care, or other correctional treatment in the
           most effective manner.” 18 U.S.C. § 3553(a).

18 U.S.C. § 3553(a)(1)-(2). The statute also requires

consideration of the kinds of sentences available, the

sentencing range, pertinent policy statements issued by the

Sentencing Commission, the need to provide restitution to

victims, as well as the need to avoid discrepancies in sentences

between offenders guilty of similar conduct. 18 U.S.C. §

3553(a)(3-7).

     FFOA provides sentencing courts with the discretion to

sentence a defendant to up to one year of “special probation” or

“pre-judgment probation” without entering a judgment of

conviction under certain circumstances:

           If a person found guilty of an offense
           described in section 404 of the Controlled
           Substances Act (21 U.S.C. 844)—

     (1)   has not, prior to the commission of such an
           offense, been convicted of violating a Federal
           or   State   law   relating    to   controlled
           substances; and

     (2)   has not previously been the subject           of   a
           disposition under this subsection;

           the Court may, with the consent of such
           person, place him on probation for a term of
           not more than one year without entering a
           judgment of conviction.

18 U.S.C. § 3607(a). If the defendant complies with the

conditions of probation, the court dismisses the proceedings

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without entering a judgment of conviction either prior to the

expiration of the term of probation or upon the expiration of

the term of probation. Id.

          B. The Court exercised its discretion and sentenced Ms.
             Jaime pursuant to 18 U.S.C. § 3607(a)

     The government conceded, but only for the purpose of

sentencing Ms. Jaime, that if the Court exercised its discretion

and sentenced Ms. Jaime pursuant to 18 U.S.C. § 3607(a), the

sentence would be lawful and the government would not appeal the

sentence. Hr’g Tr. at 4:25-5:9, June 1, 2016. Although it

conceded the applicability of 18 U.S.C. § 3607(a) in this case,

the government argued that the Court should decline to exercise

its discretion to sentence Ms. Jaime pursuant to that provision

because Ms. Jaime was willfully blind to the criminal conduct in

which she engaged: she did not question her husband about the

money he directed her to withdraw from her account even though,

according to the government, she believed the money to be the

result of illegal activity. Id. at 17:3-22. Thus, according to

the government, Ms. Jaime’s conviction should remain on her

record because of her willful blindness to the criminal

activity. Id. at 22:6-7. The government also argued that Ms.

Jaime’s conduct does not comport with the spirit of 18 U.S.C. §

3607(a) because that provision was intended to provide a second

chance to individuals who were convicted of possessing small


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amounts of drugs, whereas Ms. Jaime’s conduct was associated

with a large amount of drugs. Id. at 37:5-21. The government

sought a sentence of time served for Ms. Jaime. Gov’t Sentencing

Mem., ECF No. 820 at 5.

     Because the government conceded the applicability of 18

U.S.C. § 3607(a) to the offense to which Ms. Jaime pled guilty,

and for the reasons persuasively stated by defense counsel, see

Def.’s Mem., ECF No. 909 at 3-7, and amicus curiae, see Mem. of

Amicus Curiae, ECF No. 1000 at 2-5, the Court exercised its

discretion and sentenced Ms. Jaime to special probation pursuant

to 18 U.S.C. § 3607(a). Consistent with 18 U.S.C. § 3607(a)(1),

and based on the record in this case, this is Ms. Jaime’s first

offense for a violation of federal or state controlled

substances laws, and consistent with 18 U.S.C. § 3607(a)(2), Ms.

Jaime has never before been subject to a disposition pursuant to

3607(a). The Court was not persuaded by the government’s

arguments that the Court should decline to exercise its

discretion to sentence Ms. Jaime to special probation. Rather,

consistent with the factors enumerated in 18 U.S.C. § 3553(a) as

well as Ms. Jaime’s performance on pre-trial supervision for two

and a half years, the Court exercised its discretion and

sentenced Ms. Jaime to one year of special probation.

     As the Court noted at the final sentencing hearing, Ms.

Jaime performed extremely well on pre-trial release. Following

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her arrest, Ms. Jaime was released on personal recognizance into

the High Intensity Supervision Program (“HISP”) on November 26,

2013. She was released from HISP on April 17, 2014. During two-

and-a-half years of pre-trial supervision, including a period of

home confinement and electronic monitoring, Ms. Jaime was

compliant with the conditions of her release, with the exception

of one infraction. Ms. Jaime abided by all curfews, reported

weekly in person to local pre-trial services, refrained from

obtaining any new charges, and maintained stable employment as a

home healthcare provider. Ms. Jaime’s ability to comply with the

conditions of her release is probative of her amenability to a

sentence of probation.

     Furthermore, this case was Ms. Jaime’s first arrest and

criminal conviction. As the government readily conceded, Ms.

Jaime’s participation in the narcotics distribution conspiracy

was limited as compared to other co-defendants and her

involvement in the case was likely due to pressure from her

husband. See Gov’t Sentencing Mem., ECF No. 820 at 5. The

offense at issue was non-violent, and occurred over a limited

time period. Finally, based on Ms. Jaime’s history and

characteristics, it is highly doubtful Ms. Jaime will be the

subject of criminal proceedings again.

     In exercising its discretion to sentence Ms. Jaime to pre-

judgment probation and provide her with the opportunity to have

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her conviction expunged, the Court is mindful of the potentially

devastating collateral consequences of a criminal conviction,

including it being an impediment to future employment. This

Court has previously discussed the need to develop tools to

allow individuals charged with certain non-violent offenses the

opportunity to demonstrate their rehabilitation without

triggering such consequences. See United States v. Saena Tech

Corp., 140 F. Supp. 3d 11, 46 (D.D.C. 2015); see also United

States v. Nesbeth, No. 15-cr-18, 2016 WL 3022073, at *5

(E.D.N.Y. May 25, 2016)(noting that there are “nearly 50,000

federal and state statutes and regulations that impose

penalties, disabilities, or disadvantages on convicted felons”);

Stephenson v. United States, 139 F. Supp. 3d 566, 568-69

(E.D.N.Y. 2015)(noting the accumulation of “solid evidence

establishing that a criminal conviction is often a significant

obstacle to employment” and the link between unemployment and

recidivism). Although these opinions focused on the collateral

consequences of a felony conviction, similar consequences may be

triggered by a misdemeanor drug offense conviction.

     The Court must fashion a sentence that is “sufficient, but

not greater than necessary” to achieve the statutory purposes of

sentencing, including just punishment, adequate deterrence,

protection of the public, and rehabilitation. 18 U.S.C. §



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3553(a). In Ms. Jaime’s case, a sentence of special probation

sufficiently addresses these concerns.

  III. CONCLUSION

     For the reasons stated above, the Court found a disposition

pursuant to 18 U.S.C. § 3607(a) to be appropriate in this case.

Signed:   Emmet G. Sullivan
          United States District Judge
          January 30, 2017




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